Case 2:10-cv-08888-CJB-JCW ‘Document 79352 Filed 04/20/11 Page 1of3

ee IN RE: OIL

9 oe
ad . aN

«ae

ye

MDL 2179

By submitting this document, | am assert
al, No. 10-2771; adopt and incorpora
Asset Leasing Gmbh, et al., in No. 10-277
(Rec. Doc.
into, join and otherwise adopt the Ma
filed in MDL No. 2179 (16 md 2179).

te the Master Answer [Rec. Doc. 244] to the Complaint and Petition of Triton

879] for private economic losses (“B1 Bundle”) filed in MDL No. 2179 {10 md 2179}; and/or intervene
ster Complaint [Rec. Doc. 881] for post-explosion injuries (“B3 Bundle”)

SPILL by “Deepwater Horizon”

DIRECT FILING SHORT FORM'

aa We ‘Authorized by Order of the Court, Civil Action No. 10 md 2179 Rec. Doc. 982
ac ICapige of said Order having also been filed in Civil Actions No. 10-8888 and 10-2771)
* aie -

SECTIO ER

JUDGE CA

f Triton Asset Leasing GmbH, et

ing a claim in Complaint and Petition o

1; and/or intervene into, join and otherwise adopt the Master Complaint

Last Name First Name Middle Name/Maiden / Suffix
Haston Julius iV |
Phone Number E-Mail Address
251-605-7454 apostlejvhaston@acl.com

Address : City / State / Zip

1711 1st Avenue | Prichard, AL 36610

INDIVIDUAL CLAIM UO BUSINESS CLAIM Hy]

Employer Name

Business Name
Walls of Salvation International Church

“Job Title / Description

Type of Business

Church
Address Address

1711 1st Avenue
City / State / Zip City / State / Zip

Prichard, AL 36610

Last 4 digits of your Social Security Number

4615
Attomey Name Firm Name

Last 4 digits of your Tax ID Number

Atiomeys at Law

Phone Number
409-838-0101 or 409-833-7700

Ciaim filed with BP? YES oO

N

If yes, BP Claim No.:

| Damage or destruction to real or personal
Eamings/Profit Loss
| Personal injury'Death

| Mitchell A. Toups & Richard Coffman
Address > City / State / Zip
P.O. Box 350 - Beaumont, TX 77704
| E-Maii Address

Clalm Type (Plaase check all that apply):

| matoups@wottlaw.com; re@cofflaw.com
i Claim Filed with GCCF?: YES
|

i
' If yes, Claimant Identification No.:

No 0

0
In Process

Fear of Future Injury and/or Medical Monitoring
Loss of Subsistence use of Natural Resources
Removal and/or clean-up costs

Other:

property

1 This form should be filed with the U.S. District Court for

the Eastern District of Louisiana, 500 Poydras Street, New Orleans, Louisiana 70130, in Civil Action No.

10-8888, While this Direct Filing Short Form is to be filed in CA No. 10-8838, by prior order of the Court, (Rec. Dac. 246, C.A. No. 10-2771 and Rec. Dor. 982 in MOL
2179), the filing of this form in C.A. No. 10-8888 shall be deemed to be simultaneously filed in C.A. 10-2771 and MOL 2179. Plaintiff Lialson Counsel, after being
notified electronically by the Clerk of Court of the filing of this Shart Form, shall promptly serve this form through the Lexis Nexis service system on Defense Llalson.

1

The filing of this Direct Filing Short Form si

hall also serve in lieu of the requirement of a Plaintiff to file a Plaintiff Profile Form.

a

_, . €ase 2:10-cv-08888-CJB-JCW Document 79352 Filed 04/20/11 Page 2 of 3

A

Brief Description:

1. For earnings/profit loss, property damage and loss of subsistence use claims, describe the nature of the injury. For claims
involving real estate/property, include the property location, type of property (residential/commercial), and whether physical
damage occurred. For claims relating to fishing of any type, include the type and location of fishing grounds at issue.

As a direct and/or proximate result of the Deepwater Horizon oil spill, there was a significant

downturn in the religious industry that, in turn, resulted in a substantial decrease in

earnings and profits

2. For personal injury claims, describe the injury, how and when it was sustained, and identify all health care providers and
employers 2008 to present and compiete authorization forms for each.

Not Applicable

3. For post-explosion claims related to clean-up or removal, include your role in the clean-up activities, the name of your
employer, and where you were working.

Not Applicable

2

The filing of this Direct Filing Short Form shail also serve in lieu of the requirement of a Plaintiff to file a Plaintiff Profile Form.

a

- _ Case 2:10-cv-08888-CJB-JCW Document 79352 Filed 04/20/11 Page 3 of 3

Please check the box(es) below that you think apply to you and your claims:
Non-governmental Economic Loss and Property Damage Claims (Bundle B1}

D1. Commercial fisherman, shrimper, crabber, or oysterman, or the owner and operator of a business involving fishing, shrimping,
crabbing or oystering.

OC 2. Seafood processor, distributor, retail and seafood market, or restaurant owner and operator, or an employee thereof.

CI 3. Recreational business owner, operator ar worker, including a recraational fishing business, commercial guide service, or charter
fishing business who earn their living through the use of the Gulf of Mexico.

CI 4. Commercial business, business owner, operator or worker, including commercial divers, offshore oilfield service, repair and
supply, real estate agents, and supply companies, or an employee thereof.

(5. — Recreational sport fishermen, recreational diver, beachgoer, or recreational boater.
Dé. Plant and dock worker, including commercial seafood plant worker, fongshoreman, or ferry operator.

oO 7 Owner, lessor, or lessee of real property alleged to be damaged, harmed or impacted, physically or economically, including
lessees of oyster beds.

CJ 8. Hotel owner and operator, vacation rental owner and agent, or ail those who eam their living from the tourism industry.
Os. Bank, financial institution, or retail business thal suffered losses as a result of the spill.

C0 10. Person whe utilizes natural resources for subsistence.

11. Other: Church

Post-Explosion Personal Injury, Medical Monitoring, and Property Damage Related to Cleanup (Bundle B3}

CI 1. Boat captain or crew involved in the Vessels of Opportunity program.

oO 2. Worker involved in decontaminating vessels that came inte contact with oil and/or chemical dispersants.

oO 3. Vessel captain or crew who was not involved In the Vessels of Opportunity program but whe were exposed to harmful chemicals,
odors and emissions during post-explosion clean-up activities.

oO 4. Clean-up worker or beach personnel involved in clean-up activities along shorelines and intercoastal and intertidal zones.
CO 5. Resident who lives or works in close proximity to coastal waters.

oO 6. Other:

Both BP and the Gulf Coast Claims Facility ("GCCF") are hereby authorized to release to the Defendants in MDL
2179 all information and documents submitted by above-named Plaintiff and information regarding the status of any
payment on the claim, subject to such information being treated as “Confidential Access Restricted” under the Order
Protecting Confidentiality (Pre-Trial Order 9, and subject to full copies of same being made available to both
the Plaintiff (or_his att i pli é form and PSC through Plaintiff Liaison Counsel.

Claimant or Attorney Signal ire

(Yirtoiwon A

Print Name ‘

Y-9- DOI

Date

3

The filing of this Direct Filing Short Form shall also serve in Hleu of the requirement of a Plaintiff to file a Plaintiff Profile Form.
